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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §            Case No. 4:05cr198
                                                   §            (Judge Crone)
 ADAM WYATT (14)                                   §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on December 16, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Randall Blake.

        On June 30, 2006, Defendant was sentenced by the Honorable Ron Clark to eight-seven (87)

 months followed by five (5) years of supervised release for the offense of Conspiracy to Manufacture,

 Distribute or Possess with Intent to Manufacture, Distribute or Dispense Methamphetamine. On

 March 14, 2011, Defendant completed his period of imprisonment and began service of his

 supervised term. On January 16, 2013, this case was reassigned to the Honorable Marcia A. Crone.

        On October 16, 2013, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall refrain from any unlawful use of a controlled substance. The petition

 also alleged violation of the following standard condition: the defendant shall refrain from excessive

 use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance

 or any paraphernalia related to any controlled substances, except as prescribed by a physician. The

 Government dismissed the remaining violations.
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            The petition alleges that Defendant committed the following acts: (1) On September 11,

     2012, the Defendant submitted a urine specimen that tested positive for methamphetamine. The

     Defendant admitted using methamphetamine and signed an admission; (2) on January 9, 2013, the

     Defendant submitted a urine specimen that tested positive for methamphetamine. The Defendant

     admitted using methamphetamine between December 14, 2012, until January 4, 2013, and signed

     an admission.

            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     two violations. The Court recommends that Defendant’s supervised release be revoked.

                                           RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months and one

     day with no supervised release to follow. It is also recommended that Defendant be housed in the

.    Bureau of Prisons, Seagoville Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

          SIGNED this 17th day of December, 2013.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
